     Case 1:18-cv-01042-SOH Document 7           Filed 03/21/19 Page 1 of 1 PageID #: 25



                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION


HERBERT WAYNE SMITH and
KIMBERLY SMITH                                                                      PLAINTIFF


v.                                   Case No. 1:18-cv-1042


TRW AUTOMOTIVE U.S. LLC, et al.                                                 DEFENDANTS


                                            ORDER

         Before the Court is Plaintiffs’ Motion to Dismiss Complaint Without Prejudice. ECF No.

6. Plaintiffs seek voluntary dismissal of this case. Upon consideration, pursuant to Federal Rule

of Civil Procedure 41(a)(2), the Court finds that Plaintiffs’ motion should be and hereby is

GRANTED. Plaintiffs’ claims are DISMISSED WITHOUT PREJUDICE.

         IT IS SO ORDERED, this 21st day of March, 2019.

                                                                   /s/ Susan O. Hickey
                                                                   Susan O. Hickey
                                                                   United States District Judge
